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               EXHIBIT C
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                                                                  Office of the Chief Counsel
                                                                  Food and Drug Administration
                                                                  10903 New Hampshire Avenue
                                                                  Silver Spring, MD 20993-0002




June 7, 2019

Via Email

John C. Bostic
Assistant United States Attorney
U.S. Attorney's Office
Heritage Bank Building
150 Almaden Blvd. Suite 900
San Jose, CA 95113

Re:    Document Access Request - United States v . Elizabeth Holmes & Ramesh
       Balwani, 18-CR-00258 EJD (N.D. Cal.)

Dear Mr. Bostic:

This letter responds to your letter dated May 9, 2019, addressed to Lauren DiPaola, Lead
Testimony Specialist at the U.S. Food and Drug Administration ("FDA"), which seeks
documents and information in FDA's possession in response to requests made by the
Defendants in the above-referenced action, Elizabeth Holmes ("Holmes") and Ramesh
Balwani ("Balwani"). Specifically, your letter seeks access to six categories of documents,
including communications, correspondence, notes, or recordings (hereinafter,
"documents") relating generally to Theranos, Inc. ("Theranos") and (1) the Wall Street
Journal and John Carreyrou, (2) Clinical Laboratory Improvement Amendment ("CLIA")
compliance, (3) clinical laboratories, (4) FDA's determination of the type of approval
required for Theranos' devices, (5) interviews with witnesses, and (6) the 2013 CLIA
survey. Your request does not contain any date limitations.

As an initial matter, we do not expect FDA to have many responsive documents to
categories (2) and (6), because the CLIA Program is implemented by the Centers for
Medicare & Medicaid Services ("CMS"), not FDA. See generally 42 C.F.R. Part 493.
Moreover, as you know, the Department of Justice ("DOJ'') previously received from FDA
and/ or the Securities and Exchange Commission ("SEC") a significant number of FDA
documents-over 40,000 pages-relating to Theranos, which DOJ has already provided to
the Defendants. Def. Holmes Mot. to Compel, Dkt. #67, at 3 in United States v. Holmes,
et al.; see also id. at 13 (describing DOJ's production of documents originally sourced from
FDA as "substantial"); see also Def. Balwani's Joinder in Holmes Mot. to Compel, Dkt.
#68. We also understand that DOJ has already provided to Defendants all of FDA's
witness interviews related to this matter, which are responsive to category (5) of your
request, and we do not expect that the agency will have additional documents to produce
in this category.

As you also know, the Superseding Indictment against Defendants alleges wire fraud and
conspiracy to commit wire fraud against doctors and Theranos' patients and investors.
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The only allegation that mentions FDA states that Defendants "represented to investors
that Theranos did not need [FDA] to approve its proprietary analyzer and tests, but instead
that Theranos was applying for FDA approval voluntarily because it was the 'gold
standard'; when, in truth, [Defendants] knew that by late 2013 and throughout 2014, the
FDA was requiring Theranos to apply for clearance or approval for its analyzer and
tests." Superseding Indictment, Dkt. #39, at 5, 112(F) (emphasis added). It seems, then,
that the only documents that you are now requesting that are potentially relevant to this
case are documents in category (4), which relate to what FDA told Defendants in late 2013
and throughout 2014 regarding the type of FDA approval or clearance required for
Theranos' devices. Documents in the remaining categories are not relevant to the issues
m your case.

Prior to receiving your letter, FDA was served with a subpoena (initially issued on
September 12, 2018, and "reissued" on March 15, 2019) in SEC v. Balwani, Case No. 18-
cv-01603-EJD (N.D. Cal.), the civil case brought by the SEC against Balwani. The
subpoena requests 20 broad categories of documents referring or relating to Theranos,
Holmes, and Balwani, from the 8112-year period from January 2010 through June 2018.
The documents requested by your letter comprise a subset of the documents that are
responsive to the subpoena.

To respond to the subpoena, FDA has already searched the records of at least 45
custodians, including both current and former FDA employees, and has collected in excess
of 62,000 documents that contain the keywords for which we searched. 1 The agency is in
the process of reviewing those documents for responsiveness and, for those that are
responsive, conducting a page-by-page, line-by-line review for privilege and other
protections, as more fully laid out below. As we process the documents for the
subpoena, we will provide documents to you, including those that are
responsive to the six categories you have requested, with certain exceptions
as set forth below.

Please be aware that FDA does not currently have an automated method for identifying
duplicates in the newly-collected documents, nor does it currently have an automated way
to compare the newly-collected documents to the previously-produced documents. We
are working with our information technology staff to make our review more efficient;
however, at present, we need to manually compare the newly-collected documents to
identify and remove duplicates, including lesser-included duplicates (such as a less
complete email string). To the extent that FDA obtains an automated mechanism that
would permit us to compare the newly-collected documents with the previously-produced
documents, we will not re-produce any FDA documents already provided to Holmes and
Balwani by DOJ.


1This is a document count, not a page count, and FDA has not completed inventorying all
collected documents to count attachments separately. Accordingly, this number is an
approximation of the minimum number of documents collected; the actual number likely
will be significantly higher.
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FDA also will not produce any automated emails sent to agency employees from public
media or other organizations including, but not limited to, Bulletin Intelligence,
GenomeWeb, The Gray Sheet, PharmaVOICE, POLITICO Pulse, and Google Alerts, which
emails solely contain links to publicly-available information about Theranos. FDA will,
however, provide any such emails that FDA employees forwarded with comment.

Before FDA can provide any documents in response to the subpoena and your request, we
need to redact privileged and otherwise confidential information from the newly-collected
documents. FDA is prohibited from releasing trade secret information obtained under
certain of its regulatory authorities in judicial proceedings that are not brought under the
Federal Food, Drug, and Cosmetic Act. 21 U.S.C. § 331G). FDA is also prohibited from
releasing trade secret and confidential commercial or financial information ("CCI")
regarding certain devices obtained through the agency's regulatory and inspectional
authorities. 21 U.S.C. § 36oj(c). The Trade Secrets Act, 18 U.S.C. § 1905, also prohibits
FDA from releasing trade secrets and CCI unless otherwise authorized by law. And, FDA
regulations provide that trade secrets and CCI are not available for public disclosure. See
21 C.F.R. § 20.61. Many of the documents that are responsive to the subpoena and your
request contain Theranos' trade secrets and CCI and may also contain third-party trade
secrets and CCI. FDA cannot lawfully produce any responsive documents that would
reveal such information absent a court order or a waiver permitting FDA to release such
information in response to your request.2 If the Theranos assignee provides a written
waiver permitting FDA to release its trade secrets and CCI in response to the subpoena
and your request, which we understand may be forthcoming, it would facilitate a quicker
review and would result in the documents being less redacted and of more utility.

However, even if FDA receives a waiver from the Theranos assignee, the agency stills need
to review and redact from the newly-collected documents third-party trade secrets and
CCI, as well as privileged and otherwise-protected information, including attorney-client
communications, attorney work product, personal privacy information, privileged
investigatory files, privileged deliberative process, and/ or other protected information.
See 21 C.F.R. §§ 20.62-.67, 20.85. FDA '\<\7ill also redact all non-responsive information
from the newly-collected documents. For example, there are documents from FDA's
media staff that reference all open press inquiries and CDRH documents that reference all
pending CDRH matters; FDA will redact as unresponsive all information unrelated to
Theranos but will leave in any non-privileged information regarding Theranos.

In addition, because the subpoena and your request seek documents that have already
been reviewed, redacted, and released publicly pursuant to the Freedom of Information

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  To the extent DOJ and/or Defendants already possess FDA documents from which
Theranos's trade secrets or CCI were not redacted, such productions were made pursuant
to waivers from Theranos permitting FDA to provide the information to DOJ and SEC and
permitting DOJ to give the FDA documents to the Defendants. To date, the Theranos
assignee has not provided a waiver for FDA to release its trade secret and CCI in the newly-
collected documents.

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                    U.S. FOOD & DRUG
                    ADMINISTRATION
                                                                              Office of the Chief Counsel
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             Act ("FOIA") and for which subsequent review and redaction would constitute needless
             and/ or burdensome duplication of time and effort, any responsive documents that have
             already been redacted will not be re-reviewed and, instead, ·will be provided as they were
             released to the public previously. Finally, FDA is limiting its search and production in
             response to your request to the time frame set forth in the subpoena, January 2010
             through June 2018.

             It will take a significant amount of FDA employee time to prepare and produce the
             documents responsive to the subpoena and your request. Although we cannot currently
             predict how much time it will take to review and process the newly-collected documents,
             we can begin producing documents to you on a rolling basis within one month.

             FDA is committed to producing documents in a manner consistent with federal law and
             agency procedures. The agency has already expended a significant amount of resources to
             respond to document requests in connection with your criminal investigation of
             Defendants, SEC's civil investigation of Defendants, and Mr. Balwani's subpoena in the
             SEC civil action pending against him, and will continue to produce additional responsive,
             non-privileged documents consistent with the foregoing objections in response to your
             request.

             If you have any further questions, please contact me at 301-796-8580.

             Sincerely,




             Marci B. Norton
             Senior Counsel




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